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                      Reply Exhibit 2
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BY REGULAR MAIL AND EMAIL:

December 20, 2021

Jason A. Soto, Lt Col, USAF
Commander, 350th Recruiting Squadron
2902 Mcguire blvd, Mcguire AFB, NJ, 08641

RE: Robert et al v. Austin et al in reference to SSgt. Casey Belieu


Dear Lt Col. Soto:

I am one of the attorneys of record who filed the civil action Robert, Mulvihill, et al. v. Department
of Defence (DOD), Food and Drug Administration (FDA), et al., in Colorado federal district court,
#1:21-cv-2228. That case challenges the mandatory vaccine program launched by Secretary of
Defence Lloyd J. Austin’s Aug. 24, 2021, Memorandum on behalf of two classes of plaintiffs:

(1) all members of the armed forces who have been ordered to receive vaccination with anything
other than a product “fully licensed” by the FDA because that explicitly violates federal law (21
U.S.C. §360bbb-3);

(2) all members of the armed forces who have already had COVID-19 and therefore have already-
acquired, natural immunity.

The second class of plaintiffs are presumptively exempt from being vaccinated against a virus that
they have already had, in accordance with longstanding and well-established principles of
immunology and virology, which are contained in DoD Instruction AR40-5621-regardless of the
licensure status of any vaccine against COVID-19. AR 40-562, ¶2-6, expressly exempts service
members from vaccination who have previously had an infection from the same virus.

I have advised all plaintiff members of both classes to reject the shots while the litigation is
pending because it would jeopardize their standing as members of the plaintiff classes. SSgt. Casey
Belieu is a member of the class of plaintiffs and as such, should be exempted from the shot/s until
the Court has ruled on the merits of the litigation. Attempts to interfere with a person’s rights and
status in ongoing federal litigation will be referred to the judge for his consideration and action.




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Thanks in advance for your understanding and cooperation in this matter.

Sincerely,



Todd S. Callender, Esq.
Attorney for the Plaintiffs




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                                         Phone: (303)-228-7065
